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 5
     Attorney for Defendant
 6   JAIME MAYORGA
 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,             )               No. 11-CR-00296 WBS
11                                         )
                                           )
12         Plaintiff,                      )               STIPULATION AND ORDER TO
                                           )               ALLOW DEFENDANT TO TRAVEL TO
13   v.                                    )               MEXICO TO VISIT FAMILY
                                           )
14                                         )
     JAIME MAYORGA                         )
15                                         )
           Defendant,                      )
16                                         )
                                           )
17   _____________________________________ )
18
            Assistant United States Brian A. Fogerty and defendant Jaime Mayorga through his
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     attorney Ron Peters, hereby agree and stipulate that Mr. Mayorga with the permission of his pre-
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     trial services officer, and pursuant to such conditions as required by his pre-trial services officer

22   travel to Mexico any time between the dates of December 21, 2017 and January 9, 2018 to visit
23   his parents who are elderly and reside in Mexico fulltime.
24
            It is further stipulated that the clerk of the court shall return Mr. Mayorga’s United States
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     passport to him on the date the attached proposed order is filed to permit him to travel to Mexico.
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27   Mr. Mayorga must return to the United States by January 10, 2018 and must check in with his

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     pre-trial services officer and surrender his passport to the clerk of the court within 24 hours of
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 2   returning to the United States, but in no event later than January 10, 2018

 3          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 4
            IS SO STIPULATED.
 5

 6   DATE: November 21, 2017                                /s/Ron Peters
 7
                                                            RON PETERS
                                                            Attorney for Defendant
 8                                                          Jaime Mayorga
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10                                                          /s/ Brian A. Fogerty_____________
                                                            Brian A. Fogerty
11                                                          Assistant United States Attorney
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                                                     ORDER
 1

 2           Based on the stipulation of the parties and good cause appearing there from, the Court

 3   hereby adopts the stipulations of the parties in its entirety as its Order.
 4

 5           IT IS SO ORDERED

 6   Date: November 29, 2017                                 /s/ JOHN A. MENDEZ
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                                                             HONORABLE JOHN A. MENDEZ
                                                             UNITED STATES DISTRICT JUDGE
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